  

Case 2:03-cV-02849-.]DB-tmp Document 95 Filed 05/19/05 Pagelon Page|D O

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IN THE UNITED STATES DISTRICT COURT HLED »)Y -- 0

FOR THE WESTERN DISTRICT OF TENNESSEE v 3_ h 8
WESTERN DIVISION 05 !--‘i:'.-_ `s l Pi'i ~

 

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MARK REED, FRED PARROTT
AND TROY WINGO,
Plaintiffs

vs. Case No.03-2849 Bre P
Jury Tria] Demand
LEDIC Management Company
a.k.a. LEDIC Management Group
Defendant

 

ORDER GRANTING PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO
RESPOND TO DEFENDANT’S SUMMARY JUDGMENT MOTION

 

The Court, having reviewed and considered the plaintiffs’ Motion for Extension of
Tim.e to Respond to Defendant’s Summary Judgrnent Motion, and the supporting Afi`idavit of
Yollander Hardaway, all of Which is unopposed by Defendant, finds that said motion is well
taken and is hereby GRANTED. Plaintiffs shall an extension of time to file responsive
pleadings and their brief until June 25“‘, 2005.

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so 0RDERED this / ‘i day of May 2005.

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J. D NIEL BREEN \
UNI ED sTATEs DISTRICT JUDGE

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Honorable J. Breen
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